16 F.3d 409NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Homer HARTE, Petitioner,v.DIRECTOR OFFICE OF WORKERS' COMPENSATION PROGRAMS, UnitedStates Department of Labor;  Consolidation CoalCompany, Respondents.
    No. 93-1988.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Jan. 31, 1994.Decided:  Feb. 8, 1994.
    
      On Petition for Review of an Order of the Benefits Review Board.
      Homer Harte, petitioner pro se.
      Marta Kusic, Staff Atty., Rodger Pitcairn, United States Dept. of Labor, Washington, DC;  Mary Rich Maloy, Jackson &amp; Kelly, Charleston, WVA, for respondents.
      Ben.Rev.Bd.
      AFFIRMED.
      Before PHILLIPS, NIEMEYER and LUTTIG, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks review of the Benefits Review Board's decision and order affirming the administrative law judge's denial of black lung benefits pursuant to 30 U.S.C.A. Secs. 901-945 (West 1986 &amp; Supp.1993).  Our review of the record discloses that the Board's decision is based upon substantial evidence and that this appeal is without merit.  Accordingly, we affirm on the reasoning of the Board.  Harte v. DOWCP, BRB. No. 91-1804-BLA (Ben. Rev. Bd. June 18, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    